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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RAUL LOPEZ REYES,                              Case No. 18-cv-07429-SK
                                   8                   Petitioner,
                                                                                        ORDER REGARDING REQUEST FOR
                                   9             v.                                     EXTENSION
                                  10     ERIK BONNAR, et al.,
                                                                                        Regarding Docket No. 22
                                  11                   Respondents.

                                  12          Respondents seek a short extension of time to comply with this Court’s Order of December
Northern District of California
 United States District Court




                                  13   24, 2018 (Dkt. 21.) The Court DENIES the request for extension.
                                  14          IT IS SO ORDERED.
                                  15   Dated: January 3, 2019
                                  16                                                ______________________________________
                                                                                    SALLIE KIM
                                  17                                                United States Magistrate Judge
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